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 The Honorable Richard G. Andrews                                                  VIA E-FILING
 United States District Court, District of Delaware
 844 N. King Street, Unit 9, Room 2325
 Wilmington, Delaware 19801-3555

         Re: Peloton Interactive, Inc. v. Echelon Fitness Multimedia LLC, No. 19-1903-RGA
Dear Judge Andrews:
        Peloton respectfully moves to compel Echelon to produce three categories of documents
central to the parties’ claims and defenses: (i) documents produced by Echelon to Peloton in
pending trademark and trade dress litigation against Peloton in the United Kingdom (RFP No.
306); (ii) documents concerning the advertised price of Echelon’s products and subscription (RFP
Nos. 224, 275-77); and (iii) documents concerning the GT+ Connect Bike (RFP Nos. 307-16). See
Ex. 1.
I.       ARGUMENT
        Rule 26(b)(1) allows a party to “obtain discovery regarding any nonprivileged matter that
is relevant to any party’s claim or defense.” McCardell v. Connections Cmt. Support Programs,
Inc., 2019 WL 2298956, at *1 (D. Del. May 30, 2019). “Relevance is a broader inquiry at the
discovery stage than at the trial stage,” and thus, “relevant information need not be admissible” at
trial. Bing v. Spinelli, 2021 WL 2826124, at *1 (D. N.J. July 27, 2021).
         A.        Echelon Should Produce U.K. Litigation Documents That Are Highly Relevant to
                   Peloton’s Trademark and Trade Dress Claims.
         Peloton filed a lawsuit against the same Echelon defendants in the United Kingdom, Case
No. IL-2020-000074 (“U.K. Litigation”), for infringing the same trademarks and trade dress at
issue here. Given the clear overlap of issues, it is extremely likely that the U.K. Litigation will
yield relevant documents related to the parties’ claims and defenses in this case. Echelon and
Peloton must undertake discovery efforts in the U.K. Litigation regardless of the progress of this
action, so there is no additional burden whatsoever on Echelon in producing the materials in this
litigation. Peloton offered several alternatives to narrow or accommodate Echelon’s concerns,
including a document sharing arrangement and/or modification of the case protective orders that
would allow the parties in the U.K. and U.S. litigations to share documents, thereby eliminating
any purported burden in gathering or producing these materials. Echelon has rejected both of these
offers and did not offer any counterproposal.
        The documents Peloton seeks are highly relevant (given the identity of claims and accused
intellectual property), and proportional to the needs of this case. Moreover, Peloton’s request is
consistent with the parties’ practice of requesting and producing materials related to other past and
pending litigations. Indeed, in response to Echelon’s own Requests for Production, Peloton
produced in this case materials related to three other (much more tangentially related) cases,
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including documents it produced in two cases against Flywheel Sports, Inc. in the Eastern District
of Texas. Peloton also entered into a Cross-Use Agreement with iFit and Echelon in this litigation,
in which Peloton produced certain materials to both parties. See D.I. 71 (designating a “common
set of production documents” that Peloton will produce in both actions). Echelon cannot demand
Peloton produce its materials from other litigations and then refuse to produce documents from its
own related litigations, especially given the nearly identical nature of the trademark and trade dress
claims and defenses involved in the U.K. and U.S. litigations between the same parties. Peloton
is entitled to similar materials from Echelon, and there is no burden associated with producing
these documents.
        Echelon has offered no justification for why it will not produce these documents,
particularly given it is producing these same documents to Peloton already in another litigation—
a review which is surely underway. To the extent Echelon contends its production of documents
in the U.K. contains custodians or sources not directly requested in this litigation, that argument is
inapposite (and applies with equal force to the Flywheel documents). The key fact remains
unchanged—these materials are relevant and not burdensome to produce.
       B.      Echelon’s Advertisements Are Relevant To Peloton’s Unclean Hands Defense.
        Echelon accused Peloton of engaging in false advertising and unfair competition by
advertising the price of the Peloton Bike separately from the Peloton subscription membership
required to access most of Peloton’s digital content. See, e.g., Ex. 2 (Peloton advertising its bike
separately from a Peloton subscription for “$58/mo for 39 months”). Peloton countered with an
affirmative defense of unclean hands, as Echelon has and continues to engage in substantively the
same conduct in its own advertisements. D.I. 90 at 15; see also Ex. 3 (Echelon mailer advertising
an Echelon bike separately from a subscription for “As Low As $22 / mo”); Ex. 4 (Echelon website
advertising the bike separately from a subscription for “$18/month”); Ex. 5 (Echelon Facebook
page advertising the bike separately from subscription for “[a]s low as $42/mo”). Echelon,
however, has refused to produce additional, representative samples of its advertisements that
would establish this defense, asserting that such advertisements are “not accused of false
advertising and thus (at best) tangentially related to the issues in this case.” Ex. 6. These
documents go to the heart of Peloton’s unclean hands defense and should be produced, as Echelon
cannot be heard to complain of Peloton’s purportedly false advertising when it is engaged in
essentially the same conduct. See Katiroll Co., Inc. v. Kati Roll & Platters, Inc., 2011 WL
2294260, at *2 (3d Cir. 2001) (“The defense of unclean hands is applicable to all claims brought
under the Lanham Act.”); Newborn Bros. Co., Inc. v. Albion Eng’g Co., 299 F.R.D. 90, 98 (D. N.J.
2014) (unclean hands defense based on plaintiff “misleading distributors and consumers” was
sufficiently pled and could prevent plaintiff from recovering on its own false advertising claim).
        Peloton discovered certain relevant advertisements by happenstance. When asked to
produce representative samples of these advertisements, Echelon asserted that Peloton had
sufficient documents to establish its defense and placed the burden on Peloton to continue
monitoring and collecting ads from publicly available sources. Ex. 6. This is not the way
discovery works. Echelon must produce relevant advertisements that are in its custody or control.
See Fed. R. Civ. P. 34. For obvious reasons, Peloton cannot merely hope to collect all such
advertisements on its own, as this runs the risk of relevant ads being missed, especially since not
all ads are currently publicly available. Without these advertisements from Echelon, Peloton
cannot fully explore Echelon’s patterns and practices as it relates to Echelon’s advertising of its
bikes and subscriptions. Echelon does not (and cannot) claim undue burden, as these materials are
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within Echelon’s possession and do not require a custodial review. Nor can Echelon claim lack of
relevance, as these ads go squarely to Peloton’s affirmative defense and directly undermine
Echelon’s false advertising claims against Peloton. Echelon cannot shield relevant documents
from production simply because such materials are damaging to its claims.
       C.      Echelon’s Documents Concerning the GT+ Connect Bike Are Relevant To Its
               Trade Dress Functionality Defense.
           Peloton recently learned that Echelon “redesign[ed]” its infringing EX-3 bike (now named
the “GT+ Connect Bike”) and, in the process, significantly altered the trade dress of the bike,
including revising the related logo and colors used on the GT+ Connect Bike. The “redesign” of
the bike (and logo) goes to the heart of Echelon’s functionality defense and demonstrates that
alternative designs for Echelon’s bikes were and are available to it. D.I. 86 at 24 (“Peloton’s bike
. . . [is] functional, and thus [] not protectable as trade dress under the Lanham Act or the Delaware
Trademark Act.”). The existence of alternative designs is central to the issue of trade dress
functionality. See Duraco Prods. v. Joy Plastic Enters., 40 F.3d 1431, 1442 (3d Cir. 1994);
Honeywell Int’l Inc. v. ICM Controls Corp., 2013 WL 12139845, at *6 (D. Minn. Sept. 24, 2013).
         Evidence related to the design process for the GT+ Connect Bike will likely show that there
are numerous alternative designs available to Echelon that would not have infringed Peloton’s
trade dress rights. Indeed, the trade dress for the EX-3 bike (an infringing product) is significantly
different from the trade dress for the GT+ Connect Bike (which does not infringe Peloton’s trade
dress rights). Compare Ex. 4 (EX-3 bike) with Ex. 7 (GT+ bike). The redesign process for the
new logo and the selection of different colors and fonts for this new logo, all of which are
incorporated into Echelon’s trade dress for its bikes, will likely show the same. See Ex. 8. Beyond
showing that alternative, non-infringing designs were and are available to Echelon, these
documents will also show that Echelon will not be placed at a non-reputational competitive
disadvantage when it is prohibited from infringing Peloton’s trade dress. See TrafFix Devices v.
Mktg. Displays, 532 U.S. 23, 32 (2001) (“[F]unctional feature is ‘one the exclusive use of [which]
would put competitors at a significant non-reputation-related disadvantage.’”). Having asserted
that Peloton’s trade dress is functional, Echelon has put the existence of alternative designs at issue
and it should be required to produce these documents. Even if Echelon had not asserted this
defense, these documents would remain relevant to Peloton’s affirmative obligation to establish
that its unregistered trade dress is not functional. Thus, these documents are doubly relevant.
        Echelon argues that the documents would inadmissible at trial under Fed. R. Evid. 407.
This position misses the mark. As an initial point, courts have held that Rule 407 does not apply
to design changes like this. See GSI Grp., Inc. v. Sukup Mfg., Co., 641 F. Supp. 2d 732, 747 (C.D.
Ill. 2008) (revisions to advertising materials not covered by Rule 407). Regardless, whether these
documents are ultimately admissible at trial does not alleviate Echelon’s obligation to produce
them, as the documents may themselves lead to relevant and admissible evidence and can still be
“admit[ted] for another purpose” at trial, such as demonstrating that Peloton’s trade dress is non-
functional. See Fed. R. Civ. P. 26(b)(1). For these reasons, Echelon should be ordered to produce
the requested documents.
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                                                Respectfully,


                                                Michael J. Flynn (#5333)
                                                Counsel for Peloton Interactive, Inc.

cc:   All counsel of record (via CM/ECF and email)
